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MM. GOUID
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Wt Gf~“ i:*i, tidf?'di$
SHANTEL THOMAS-ROBERSON
Lee Howard Geraldl CJA
Defense Attorney
8 South Third Street, 4“‘ F|oor
Memphis, Tennessee 38103

 

AMENDED* JUDGMENT lN A CRIM|NAL CASE

AFTER RE-SENTENC|NG
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 10 of the indictment on September 08, 2004. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Titte & section Mas_e Concl_u_ded Number{st
18 u.s.C. § 1028(3)(7) Fraud and related activity in 06/27/2001 10

connection with identity theft

The defendant is sentenced as provided in the following pages of this judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the |Vlandatory
Victims Restitution Act of 1996.

Counts 1 through 9 and Count 11 are dismissed on the motion of the United States.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Re-lmposition of Sentence:
Defendant’s Date of Birth: 11/08/1971 July 15, 2005
Deft’s U.S. Marshal No.: 19463-076

Defendant’s Ftesidence Address:
4392 French Market Circle
Memphis, TN 38141

Jv<//“'/r`

SAMUEL H. MAYS, JFL
UN|TED STATES D|STR|CT JUDGE

July l dry

 

, 2005
This document entered on the docket sheet in compliance

with Fl.iie 55 and/or 32ibt FFtCrP on ' "

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Case No: 03-20232-01-Nla
Defendant Name: Shante| Thomas-Roberson Page 2 of 5

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of twenty-seven (27) months.

The defendant is remanded to the custody of the United States Marshal.

RETURN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment.
UN|TED STATES MAFiSHAL
By:

 

Deputy U.S. N|arshal

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Case No: 03-20232-01-Ma
Defendant Name: Shante| Thomas-Roberson Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

While on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leavethejudicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly ata lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physicianl and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 03-20232-01-Ma
Defendant Name: Shantel Thomas-Floberson Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crimina| Monetary Penalties sheet of this judgment.

ADD|TIONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing forthe detection ofsubstance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall participate as directed in a program of mental health treatment
approved by the Probation Officer. Further, the defendant shall be required to contribute to
the costs of services for such treatment not to exceed an amount determined reasonable
by the Probation Officer based on ability to pay or availability of third party payment and in
conformance with the Probation Office’s Sliding Sca|e for Mental Health Treatment Services.

3. *The defendantsha|| cooperate in the collection of DNA as directed bythe Probation Officer.

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Case No: 03-20232-01-Ma
Defendant Name: Shante| Thomas-Ftoberson Page 5 of 5

CR|M|NAL MONETAF\Y PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). A|| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restltution
$100.00 $2,304.35

The Specia| Assessment shall be due immediately

FlNE
No fine imposed.

REST|TUT|ON

Ftestitution in the amount of $2,304.35 is hereby ordered. The defendant shall make
restitution to the following victims in the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Name of paltee _ of Loss Restitution Ordered of Payment
K-lVlart Flecovery Services $2,254.35 $3,354.35
Cheryl Vandergriff $50.00 $50.00

|f the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment
column above.

The amount of loss and the amount of restitution ordered will be the same unless,
pursuant to 18 U.S.C. § 3664(1)(3)(B), the court orders nominal payments and this is
reflected in the Statement of Fieasons page.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:03-CR-20232 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Lee Hovvard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

